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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                                                      CRIMINAL NO. 1:06CR129-P-D


KENNETH BUSBY a/k/a “KB”, “Boss”,
“BossMan”; MELINDA BUSBY;
PATRICK BUSBY; JAMES CUMBERLAND
a/k/a “Snake”; DOUGLAS JACK HARDY a/k/a
“Red Bug”; LAQUITA LONG a/k/a “Swerve”;
and JAMES ROY THOMPSON a/k/a “Rooster”


                                           ORDER

       This cause is before the Court on defendant Patrick Busby’s Motion to Delay Report Date

[189]. The Court, having reviewed the motion and being otherwise fully advised in the premises,

finds as follows, to-wit:

       That the motion is not well-taken and should be, and hereby is, DENIED.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that defendant Patrick Busby’s Motion

to Delay Report Date [189] is not well-taken and should be, and hereby is, DENIED.

       SO ORDERED, this the 28th day of March, 2008.

                                                   /s/ W. Allen Pepper, Jr.
                                                   W. ALLEN PEPPER, JR.
                                                   UNITED STATES DISTRICT JUDGE
